
*241OPINION.
ARttndell:
Tlie evidence in this case was stipulated by the parties. It indicates that the excise tax was passed on to petitioner as a part of the purchase price of the car in the case of the Locomobile purchased by him in 1919 and in the case of the chassis purchased in 1920. It can not be determined that the excise taxes were passed on to the purchaser in the case of the other transactions, as this information is neither disclosed by the signed stipulation nor by the receipted bills attached thereto.
The matter of the deductibility by the purchasers of automobiles of the taxes imposed on the sale by manufacturers of automobiles and accessories was before us in the Appeal of R. C. Musser, 3 B. T. A. 498. In that appeal, which arose under the Revenue Act of 1921, we held that the war tax on automobiles sold by manufacturers is a tax imposed upon sales by manufacturers and is not an allowable deduction in computing the net income of the purchaser. The Revenue Act of 1918, which was in effect during the years 1919 and 1920, uses the identical language used in the 1921 Act, and the decision reached in the Musser case would be equally determinative of the deductibility of such tax under the earlier Act. We see no reason to depart from the conclusion reached by us in the Appeal of R. C. Musser.

Judgment will he entered for the Commissioner.

